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UNITED STATES DISTRICT COURT

Northern District of Illinois

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. )
ROBERT S. WAKSMUNDZKI Case Number: 1:19-CR-005 73( 1)
) USMNumber: 54201-424
)
)
) Steven Richard Hunter
) Defendant’s Attorney
THE DEFENDANT:
X] pleaded guilty to Counts One and Two of the Information.
0 pleaded nolo contendere to count(s) which was accepted by the court.
O was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense Offense Ended Count
18:371.F Conspiracy To Defraud The United States 06/04/2015 1
26:7206A.F Fraud and False Statements 06/04/2015 2

The defendant is sentenced as provided in pages 1 through 4 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

C1 The defendant has been found not guilty on count(s)

CX Count(s) — dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.

December 20, 2019
Date of Imposition of Judgment

Ieal_Z

Signature of Judge
Edmond E. Chang, United States District Judge

 

Name and Title of Judge

De cembir 2 o) L0G
Date

 

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Case: 1:19-cr-00573 Document #: 24 Filed: 12/20/19 Page 2 of 7 PagelD #:164
ILND 245B (Rev. 09/23/2019 Judgment in a Criminal Case
Sheet 3 — Supervised Release Judgment — Page 2 of 4

DEFENDANT: ROBERT S. WAKSMUNDZKI
CASE NUMBER: 1:19-CR-00573(1)

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
Twelve (12) months and one (1) day as to Count One; Twelve (12) months and one (1) day as to Count Two. Terms to run concurrently for a
total term of imprisonment of Twelve (12) months and one (1) day.

A The Court recommends to the Bureau of Prisons that Defendant be committed to a Bureau of Prisons facility as close to Chicago,

Illinois, as possible.

O The defendant is remanded to the custody of the United States Marshal.
O The defendant shall surrender to the United States Marshal for this district:
O at on

O as notified by the United States Marshal.
Kl The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

Kl before 2:00 pm on January 21, 2020.
O as notified by the United States Marshal.

O as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

 

 

 

Defendant delivered on to at , With a certified copy of this
judgment.

 

UNITED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL

 
 

Case: 1:19-cr-00573 Document #: 24 Filed: 12/20/19 Page 3 of 7 PagelD #:165
ILND 245B (Rev. 09/23/2019 Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties Judgment — Page 3 of 4

DEFENDANT: ROBERT S. WAKSMUNDZKI
CASE NUMBER: 1:19-CR-00573(1)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

 

 

 

 

 

 

 

 

 

 

 

Assessment JVTA Assessment* Fine Restitution |
TOTALS $200.00 $.00 $.00 $194,166.00
O_ The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered after such
determination.

The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Restitution of $194,166.00 to:

DEPARTMENT OF THE TREASURY, INTERNAL REVENUE SERVICE
ATTN: MS 6261 "RESTITUTION"

333 WEST PERSHING ROAD

KANSAS CITY, MO 64108

O

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:

O the interest requirement is waived for the

O the interest requirement for the is modified as follows:

The defendant’s non-exempt assets, if any, are subject to immediate execution to satisfy any outstanding restitution or fine
obligations.

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.

 
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ILND 245B (Rev. 09/23/2019) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments Judgment — Page 4 of 4

DEFENDANT: ROBERT S. WAKSMUNDZKI
CASE NUMBER: 1:19-CR-00573(1)

 

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A J Lump sum payment of $194,166 due immediately from non-exempt assets, if any.
O balance due not later than , or

O balance due in accordance with 0 Cc, O D, OE, or 01 F below; or

B OQ - Payment to begin immediately (may be combined with O C, OD, or 0 F below); or

Cc Cl = Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years), to
commence (e.g., 30 or 60 days) after the date of this judgment; or

D Cl — Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years), to
commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E [1 Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment.

The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F O Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
O Joint and Several

Case Number Total Amount Joint and Several Corresponding Payee, if
Defendant and Co-Defendant Names Amount Appropriate
(including defendant number)

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

O The defendant shall pay the cost of prosecution.

C1] = The defendant shall pay the following court cost(s):

J = The defendant shall forfeit the defendant’s interest in the following property to the United States: As outlined in the preliminary order
of forfeiture which shall be made a part of this judgment, funds in the amount of $9,829,078.00 judgment; funds in the amount of

$853,059.58; approximately $480,763.53 in Chase checking account no. XXXXX1739, held in the name Waksmundzki, L.L.C., and
one 2014 Porsche Carrera S Silver, Vin: WP0AB2A96ES 120310.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court cost

 
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
UNITED STATES OF AMERICA
No. 19 CR 573
v.

ROBERT S. WAKSMUNDZKI
also known as “Flippy”

)
)
)
) Judge Edmond E. Chang
)
)
PRELIMINARY ORDER OF FORFEITURE

The United States of America, through JOHN R. LAUSCH, JR., United States Attorney
for the Northern District of Illinois, having moved for entry of a preliminary order of forfeiture as
to specific property pursuant to the provisions of Title 18, United States Code, Section
981(a)(1)(C), Title 28, United States Code, Section 2461(c), and Federal Rules of Criminal
Procedure 32.2, and upon consideration of the government’s motion,

It is hereby ORDERED, ADJUDGED and DECREED:

1. That, a personal money judgment in the amount of $9,829,078 is entered against
defendant ROBERT S. WAKSMUNDZKI;

2. That, pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c),
and Fed. R. Crim. P. 32.2, all right, title and interest of defendant ROBERT S. WAKSMUNDZKI
in the following property is hereby forfeit to the United States of America for disposition according
to law;

(a) funds in the amount of a $9,829,078 judgment;

(b) funds in the amount of $853,059.58;

(c) approximately $480,763.53 in Chase checking account no. XXXXX1739,
held in the name of Waksmundzki, L.L.C.; and

(d) one 2014 Porsche Carrera S Silver, VIN: WPOAB2A96ES 120310.
 

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3. That, pursuant to the provisions of 21 U.S.C. § 853(g), as incorporated by 28 U.S.C.
§ 2461(c), the Department of Homeland Security shall be authorized to seize and take custody of
the foregoing property for disposition according to law;

4, That, pursuant to the provisions of 21 U.S.C. § 853(n)(1), as incorporated by 28
U.S.C. § 2461(c), the United States shall publish notice of this order and of its intent to dispose of
the property according to law. The government may also, pursuant to statute, to the extent
practicable, provide written notice to any person known to have alleged an interest in the property
that is the subject of the preliminary order of forfeiture. The government is unaware at this time
of anyone who qualifies for such notice;

5. That, pursuant to the provisions of 21 U.S.C. § 853(n)(2), as incorporated by 28
U.S.C. § 2461(c), if following notice as directed by this Court and 21 U.S.C. § 853(n)(1), as
incorporated by 28 U.S.C. § 2461(c), any person other than the defendant, asserts an interest in the
property which has been ordered forfeit to the United States, within 30 days of the final publication
of notice or this receipt of notice under paragraph 4, whichever is earlier, and petitions this Court
for a hearing to adjudicate the validity of this alleged interest in the property the government shall
request a hearing. The hearing shall be held before the Court alone, without a jury;

6. That, following the Court’s disposition of all third parties interests, the Court shall,
upon the government’s motion, if appropriate, enter a final order of forfeiture, as to the property
which is the subject of this preliminary order of forfeiture, vesting clear title in the United States
of America;

7. Pursuant to the terms of 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Fed.
R. Crim. P. 32.2, the terms and conditions of this preliminary order of forfeiture are part of the

sentence imposed against defendant ROBERT S. WAKSMUNDZKI and shall be made part of any
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judgment and commitment order entered in this case against him;
8. That, this Court shall retain jurisdiction in this matter to take additional action and

enter further orders as necessary to implement and enforce this forfeiture order.

    

EDMOND E. CHANG
United States District Judge

DATED: December 20, 2019

 

 

 

 
